             EXHIBIT I




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                                     April 23, 2022
Justin Assouad
HeplerBroom, LLC
211 N. Broadway, Ste 2700
St. Louis, MO 63102


      RE:    4:21-CV-930 Cook et al. v. Family Motors et al.

      Dear Mr. Assouad,

       I am in receipt of your “objections” to our discovery requests in the above-
styled case. I note that your client provided essentially no responses, and I am
writing to request that you withdraw your objections and assist your client in
providing responses to our requests immediately.

       Your objections are primarily an attempt to claim privilege. Notably, I
reached out to you early to discuss this area of concern and suggest some work-
arounds. You are the one who refused to cooperate to reach an agreement whereby
we could submit a dispute to a mediator or have the Court do an in-camera review
to facilitate discovery. I notice that you have also neither requested consent to nor
filed a motion for a protective order. At this point, it appears that this was a
strategic attempt to keep this as a basis for stalling and refusing to provide
responses in discovery. If we have to get assistance from the Court, you can be
sure that I will press this point as a reason that your client should be provided no
benefit or favor because any difficulty is a direct result of your litigation strategy.

       Your client knew the allegations she made in the counterclaim were false.
(see e.g. Dkt. 27 ¶124). Specifically, your client made a representation that the
counterclaim was “warranted by existing law” and had “evidentiary support.” Mo.
R. Civ. P. 55.03(c). The discovery we are requested sought evidence that your
client might use “to establish a defense to a . . . civil claim against the lawyer based
upon conduct in which the client was involved, or to respond to allegations in any
proceeding concerning the lawyer's representation of the client.” Mo. R. 4-
1.6(b)(3). The discovery we are seeking is expressly permitted by the rules.

      As of the writing of this letter, Ms. Yoakum-Kriz’ former client has
defaulted in this case, and so has admitted to all the allegations in the Second
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                        201 SE Williamsburg Dr, Blue Springs, MO 64014
Amended Complaint. As it relates to this case, that is more than a sufficient basis
to find a legitimate need for discovery if Ms. Yoakum-Kriz intends to dispute any
of these admissions. And Family Motors, LLC can gain no benefit from Ms.
Yoakum-Kriz’ refusal to provide discovery responses.

       As a final general note, Plaintiffs alleged that Defendant had no admissible
evidence to support her claims. You objected to nearly every request with a claim
that all responsive documents or information was privileged. If that is true, then
Defendant has admitted that she had no admissible evidence prior to filing the
claim. You may want to reconsider that admission.

       To assist you, I will address your various objections below:

                              REQUESTS FOR ADMISSIONS

REQUEST NO. 1:

Admit that Defendant possessed no admissible evidence that Family Motors, LLC made a
demand for payment of storage fees from Plaintiffs prior to October 4, 2021.

RESPONSE: Objection. This Request seeks the mental impressions of legal counsel in
Defendant’s representation of Family Motors, LLC in an earlier filed civil case that
remains pending in the Circuit Court of Jackson County, Missouri. (See Shane Cook v.
Family Motors, LLC, et al. Cause No. 2166-CV07101). Indeed, the very discovery that
Plaintiffs seek here was already sought by Plaintiffs in the pending (earlier-filed) state
court case, with the exception that that Plaintiffs now seek the mental impressions,
litigation strategy and work product of the lawyer who represented Family Motors, LLC in
the pending case. Such a request calls for attorney-client privileged information on its face.
Plaintiffs’ discovery gambit, if permitted, would enable any party to obtain a sneak
preview of the mental impressions and work product from their legal adversary in a
pending state court action simply by filing a separate federal lawsuit claiming “abuse of
process.” Missouri law does not permit such a brazen end-run around the sanctity of
attorney-client privilege.

In addition, this Request is argumentative, speculative and calls for a legal conclusion (e.g.,
“admissible evidence”). It is up to the trial judge, not this defendant, to determine what
would be deemed “admissible evidence” in the state court action currently pending. The
trial in the earlier filed action has not been set. The determination of what is “admissible
evidence” will be made months down the road (by the State Court judge in Cause No. 2166-
CV07101). Plaintiffs are not entitled to a “preview” of the work product and litigation
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strategy of Family Motors, LLC’s lawyer simply by filing this lawsuit and serving the
instant discovery.

Finally, the Request exceeds the scope of discovery permitted under Rule 26(b)(2) in that
this Request is irrelevant to any claim or defense presented herein with respect to
Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a plaintiff
to establish that defendant made an “illegal, improper, perverted use of process, a use
neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d 645,
663 (Mo. App. W.D. 2020). This Request has no bearing on this issue and therefore exceeds
the scope of discovery permitted under the Federal Rules.



The purpose of requests for admission is “to eliminate issues that are not in dispute between the
parties by establishing the admission of facts about which there is no real dispute, thus narrowing
down the issues for trial.” Stockdale v. Stockdale, No. 4:08-CV-1773 CAS, 2009 U.S. Dist.
LEXIS 121346, 2009 WL 5217001, at *1 (E.D. Mo. Dec. 30, 2009). F. R. Civ. P. 36(a)(1)
specifically authorizes a party to serve requests that relate to “facts, the application of law to fact,
or opinions about either.”

 “A lawyer may reveal information relating to the representation of a client to the extent the
lawyer reasonably believes necessary: to establish a defense to a criminal charge or civil claim
against the lawyer based upon conduct in which the client was involved, or to respond to
allegations in any proceeding concerning the lawyer's representation of the client.” Rule 4-1.6(b).

This is clearly the situation here. Defendant knowingly and willfully filed a counterclaim that she
had no admissible evidence to support, and then used that counterclaim to try to blackmail
Plaintiffs into dropping their suit. Missouri’s Rules expressly permit the disclosure in this
situation. Further, Defendant argued that Plaintiffs’ claims would fail if Family Motors, LLC was
legitimately pursuing a claim in two separate motions filed with this Court. Defendant clearly
believes that these matters are relevant; Defendant merely wants to hide behind smoke and
mirrors.

Defendant’s argument that this calls for a legal conclusion is more smoke and mirrors. F. R. Civ.
P. 36(a)(1) explicitly authorizes this form of request. Plaintiffs are not asking Defendant to make
a pure legal admission or even a close judgment call. Plaintiffs are asking Defendant to admit
that she had NO admissible evidence that Family Motors, LLC made a demand for payment prior
to filing the counterclaim. This only asks Defendant to apply the law (admissibility) to the facts
(the evidence Defendant had). This is expressly permitted by the rule.

Missouri has already considered a reasonable analog to your “concern” that this case could open
a door to cases filed to obtain a “sneak peak.” In considering a Mo. R. Civ. P. 55.03 motion,
Missouri said:
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       An accusation that a fellow attorney is engaging in unwarranted or illegal conduct
       through the filing of baseless pleadings or motions damages the reputation of that
       lawyer for integrity and competence. That reputation should not be tarnished
       through attacks by fellow attorneys, except in extraordinary circumstances where
       recourse to applicable court rules or statutes is necessary in order to protect
       litigants from the abuse of legal process. Therefore, the factual and legal
       arguments for the application of sanctions under court rules like 55.03 must be
       carefully analyzed.

       Ingram v. Horne, 785 S.W.2d 735, 737 (Mo. Ct. App. 1990)(citing F.D.I.C. v.
       Tekfen Const. and Installation Co., 847 F.2d 440, 444 (7th Cir. 1988).

Again, this is specifically the situation here: Plaintiffs are seeking to invoke a known cause of
action and statutory claims to protect themselves from an abuse of process by Defendant and her
former client. Notably, Plaintiffs reached out early to suggest reaching an agreement that a
mediator and/or the Court would do an in-camera review discovery disclosures to protect the
privilege. Defendant declined and has not filed a motion for a protective order. Simply put,
Plaintiffs are not “trying to get a sneak peak,” they are attempting to prevent a miscarriage of
justice and abuse of legal process. To any extent this creates a risk of inappropriate disclosures or
invasions into the attorney-client privilege, that is the result of Defendant’s refusal to cooperate
and/or file a motion for a protective order.

Further, you objected that this request is not relevant to a claim for abuse of process, and you
know that this objection has no merit. You cited Vescovo, a case which explicitly turned on the
ability to prove the previous claim was valid. Also, you have filed two motions to dismiss where
you argue that the validity and good faith pursuit of the counterclaim bar a claim for abuse of
process. You clearly understand that this is relevant and have already raised this as a defense.
Plaintiffs are entitled to an answer, and by raising this defense in a motion before this Court,
Defendant waived any objection to relevance.

Additionally, you did not object or raise any argument that this request is not relevant to Count
III, claims for violations of the Kansas Consumer Protection Act. Since you have raised no
timely objection, this objection is waived, and Defendant must respond.

Finally, your “objections” that this request is argumentative and speculative are unexplained
boilerplate objections. Boilerplate objections like these are not valid in the Western District of
Missouri, and these objections are disregarded and waived. Rightchoice Managed Care, Inc. v.
Hosp. Partners, Inc., No. 5:18-cv-06037-DGK, 2019 U.S. Dist. LEXIS 16344, at *15 (W.D. Mo.
Feb. 1, 2019). Again, Defendant must respond.




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REQUEST NO. 2:

Admit that Defendant possessed no admissible evidence on or before October 4, 2021 that
Plaintiffs had been enriched in the amount of $9,240.00 by any act of Family Motors, LLC.

RESPONSE: You asserted the same “objections” as you did for Request 1, and the “objections”
fail for the same reasons, with the following exceptions:
Here, Defendant made a representation to the state court that Defendant had evidence to support
this allegation. Mo. R. Civ. P. 55.03(c). However, this is both legally and factually impossible.
First, Plaintiffs have simply not been enriched in the amount of $9,240.00. And second, there is
no reasonable way I can imagine that your client would have obtained evidence that this was
true. . . even if it were.
Please save the Court’s time resolving this obvious point. Defendant must provide a response.



REQUEST NO. 3:

Admit that Defendant, not Family Motors, LLC, suggested filing a counterclaim against
Plaintiffs alleging that Plaintiffs owed storage fees to Family Motors, LLC.

RESPONSE: Objection. On its face, this Request asks for the privileged communications
between Family Motors, LLC and its former lawyer about the decision to file a
counterclaim in an earlier filed civil case that remains pending in the Circuit Court of
Jackson County, Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause No. 2166-
CV07101). Such a request calls for attorney-client privileged information and work
product on its face. It also calls for the mental impressions of Family Motors, LLC’s lawyer
and her litigation strategy. Plaintiffs’ discovery gambit, if permitted, would enable any
party to obtain all legal communications between an opposing party and their lawyer in a
pending state court action simply by filing a separate federal lawsuit claiming “abuse of
process.” Missouri law does not permit such a brazen end-run around the sanctity of
attorney-client privilege.

I have been Plaintiffs’ attorney since before Defendant sent the January 13, 2021 letter. Family
Motors, LLC never sent a demand for payment of storage fees (a fact they have now admitted).
Defendant’s owners did not mention storage fees at the August hearing. I spoke with Defendant
on or about September 29, 2021, and she never mentioned a claim for storage fees. Then, I sent
Defendant an email at or about 1:41PM on October 4, 2021. Defendant filed a counterclaim at or
about 4:26PM that same day. In the 10 months I had been working on this case, there was no
mention by any party of storage fees. Then, 3 hours after a settlement demand was sent, a claim
for fees that offset that demand appeared. The reply to the demand; however, was not sent until
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around midday October 5, 2021. The most plausible explanation of these facts is that Defendant
conjured up the claim on her own.
Ultimately, Rule 4-1.6(b) is fatal to your claim of privilege for the same reasons discussed
previously. There is an accusation of wrongdoing against Defendant related to her representation
of Family Motors, LLC.
The information requested is permitted by an express exception to the rule. Defendant must
answer.

REQUEST NO. 4:

Admit that Family Motors, LLC could have asserted a lien and resold the vehicle at issue in
2116-CV07101 - SHANE COOK ET AL V FAMILY MOTORS, LLC, if Family Motors, LLC
had a legitimate claim for storage fees.

RESPONSE: You asserted the same “objections” as you did for Request 1, and the “objections”
fail for the same reasons, with the following exceptions:
In addition, this Request is argumentative (“legitimate claim”), speculative (i.e.,
hypothetical) and calls for a legal conclusion. It is up to the trial judge, not this defendant,
to determine how and whether a lien could be properly asserted.
First, your application of facts for the argumentative and speculative objections, though
extremely limited, demonstrates that the prior objections were mere boilerplate objections.
Second, it is not argumentative. The wording here limits the scope of the request. Defendant
need not admit or deny the legitimacy of the claim for storage fees, just apply the law to facts in
a way that is reasonably likely to narrow the issues the Court must address.
Third, you object that the request is “speculative” because it is hypothetical. Defendant is an
attorney, and she can answer. If you intend to contend this point in good faith, then she can deny
it. Again, this calls for an application of law to facts to narrow issues the Court must resolve,
which is expressly permitted by the rules. Defendant must answer.



REQUEST NO. 5:

Admit Defendant had reviewed no admissible evidence prior to October 4, 2021 that Plaintiffs
abandoned a vehicle at Family Motors, LLC’s “storage lot” on January 13,2021.

RESPONSE: You repeated the same objections as for Request No. 1, and these fail for the same
reason.

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REQUEST NO. 6:

Admit Defendant’s purpose in filing a counterclaim was to force Plaintiffs to abandon their
claim.

RESPONSE: Objection. This Request seeks the mental impressions of legal counsel in
Defendant’s representation of Family Motors, LLC in an earlier filed civil case that
remains pending in the Circuit Court of Jackson County, Missouri. (See Shane Cook v.
Family Motors, LLC, et al. Cause No. 2166-CV07101). Such a request calls for attorney-
client privileged and work product information on its face. Plaintiffs’ discovery gambit, if
permitted, would enable any party to obtain a sneak preview of the mental impressions and
work product from their legal adversary in a pending state court action simply by filing a
separate federal lawsuit claiming “abuse of process.” Missouri law does not permit such a
brazen end-run around the sanctity of attorney-client privilege.
In addition, the Court record in the pending state court case shows that on January 12,
2022, the Honorable Judge Phillips already denied Plaintiffs’ motion to dismiss the
Counterclaim, permitting the claim for storage fees to continue.


This objection is worded differently than the objections to Request No. 1 but are substantively
the same. They also fail for the reasons stated in response to the objections to Request No. 1.
Notably, and at risk of cumulative repetition, Plaintiffs remind Defendant that this information is
expressly permitted by Rule 4-1.6(b) and is reasonable under the circumstances here. see Ingram
v. Horne. 785 S.W.2d 735 (Mo. Ct. App. 1990).
Defendant’s objection has no merit. Defendant must respond.




REQUEST NO. 7:

Admit Defendant had no admissible evidence prior to October 4, 2021 that Family Motors, LLC
has ever charged any person (other than Plaintiffs) storage fees.

RESPONSE: Your objection again mirrors the objection to Request No. 1 and, again, fails for
the same reasons. Defendant must respond.




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REQUEST NO. 8:

Admit Defendant had no admissible evidence prior to October 4, 2021 that Family Motors, LLC
has ever charged any person (other than Plaintiffs) storage fees of $35.00 per day.

RESPONSE: Your objection again mirrors the objection to Request No. 1 and, again, fails for
the same reasons. Defendant must respond.



REQUEST NO. 9:

Admit Defendant knew the Counterclaim filed in 2116-CV07101 - SHANE COOK ET AL V
FAMILY MOTORS, LLC had no factual basis.

RESPONSE: In reviewing this objection, Plaintiffs will withdraw it, as the request comes too
close to a request for a pure legal conclusion. Plaintiffs do not concede the objection as accurate,
but withdraw the Request because Plaintiffs recognize that the amount of argument and debate
on this issue will foreseeably exceed any actual benefit to the litigation.



REQUEST NO. 10:


Admit Defendant knew Defendant had no evidentiary support for some elements of the
Counterclaim filed in 2116-CV07101 - SHANE COOK ET AL V FAMILY MOTORS, LLC.
RESPONSE: In reviewing this objection, Plaintiffs will withdraw it, as the request comes too
close to a request for a pure legal conclusion. Plaintiffs do not concede the objection as accurate,
but withdraw the Request because Plaintiffs recognize that the amount of argument and debate
on this issue will foreseeably exceed any actual benefit to the litigation.



REQUEST NO. 11:

Admit Defendant knew the Counterclaim filed in 2116-CV07101 - SHANE COOK ET AL V
FAMILY MOTORS, LLC was legally frivolous.

RESPONSE: In reviewing this objection, Plaintiffs will withdraw it, as the request comes too
close to a request for a pure legal conclusion. Plaintiffs do not concede the objection as accurate,
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but withdraw the Request because Plaintiffs recognize that the amount of argument and debate
on this issue will foreseeably exceed any actual benefit to the litigation.



                                      INTERROGATORIES

INTERROGATORY NO. 1: Defendant answered so there are no issues to address at this time.




INTERROGATORY NO. 2: Identify all admissible evidence Defendant reviewed prior to
October 4, 2021 that would support the factual allegations made in the counterclaim and
amended counterclaim filed in 2116-CV07101 - SHANE COOK ET AL V FAMILY MOTORS,
LLC.
ANSWER: Your objections substantively mirror the objection to Request for Admission No. 1
and fail for the same reasons, except as stated below. The only variance is in the wording of the
first two sentences, which does not change the substance of the objection.

However, since this is an Interrogatory instead of a Request for Admission, F. R. Civ. P. 33
applies instead of F. R. Civ. P. 36. “An interrogatory is not objectionable merely because it asks
for an opinion or contention that relates to fact or the application of law to fact[.]” Fed. R. Civ. P.
33(a)(2). Thus, the advisory committee notes explain:

       As to requests for opinions or contentions that call for the application of law to
       fact, they can be most useful in narrowing and sharpening the issues, which is a
       major purpose of discovery . . . . On the other hand, under the new language
       interrogatories may not extend to issues of “pure law,” i.e., legal issues unrelated
       to the facts of the case. -Advisory Committee Notes (1970 Amendment); see also
       Wright & Miller § 2167 (“Thus the only kind of interrogatory that is
       objectionable without more as requesting a legal conclusion is one that extends to
       ‘legal issues unrelated to the facts of the case.’”).

This does not change the substance of the error in this objection. The Federal Rules specifically
permit interrogatories that seek legal conclusions or applications of law to fact where that request
can help narrow the issues for trial. That is precisely what this request seeks, and only Defendant
knows what evidence Defendant relied on. Defendant’s objection is without merit, and
Defendant must answer.




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INTERROGATORY NO. 3: Identify all persons with knowledge of the facts alleged in the
complaint, answer and counterclaim in 2116-CV07101 - SHANE COOK ET AL V FAMILY
MOTORS, LLC., which includes any non-retained experts.


ANSWER: Objection. This Interrogatory seeks to re-litigate the very claim pending
against Family Motors, LLC in an earlier filed civil case in the Circuit Court of Jackson
County, Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause No. 2166-
CV07101). Indeed, the very discovery that Plaintiffs seek here was already sought by
Plaintiffs in the pending (earlier-filed) state court case. Plaintiffs’ claim here is one for
abuse of process, which requires a plaintiff to establish that defendant made an “illegal,
improper, perverted use of process, a use neither warranted nor authorized by the
process.” Vescovo v. Kingsland, 628 S.W.3d 645, 663 (Mo. App. W.D. 2020). This case is not
Plaintiffs’ opportunity to seek duplicative discovery on the very claims still pending in the
earlier filed state court action.

Also, this Interrogatory exceeds the scope of discovery permitted under the Federal Rules.
In addition, this Interrogatory may call for information protected by the attorney-client
privilege and/or work product doctrine and or mental impressions/litigation strategy of
counsel.

First, this request does not “seek to relitigate every claim” because it is merely seeking
identification of fact witnesses. This is obviously related to Plaintiffs’ allegations that Defendant
had no evidence to support the claims Defendant filed. And witnesses are often a source of
evidence in trials. This also defeats Defendant’s objection that the request is beyond the scope
authorized by the Federal Rules.

Second, there is no known objection that a request “may call for information protected by the
attorney-client privilege.” You did not object that the information request is protected, so there is
no valid objection and Defendant must answer.



INTERROGATORY NO. 4: Identify all communications with Family Motors, LLC that
mentioned or discussed claims or potential claims against Plaintiffs, including any
communication with any employee, agent, member, owner, manager or other person (natural or
statutory) acting on behalf of Family Motors, LLC. For purposes of this interrogatory, Defendant
need not attempt to summarize the communications and may simply provide the date, time (as
close as possible), method of communication and person with whom Defendant communicated.


ANSWER: Objection. On its face, this Interrogatory asks for the privileged
communications between Family Motors, LLC and its former lawyer concerning legal
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strategy and mental impressions of counsel about the decision to pursue a counterclaim in
an earlier filed civil case that remains pending in the Circuit Court of Jackson County,
Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause No. 2166-CV07101). Such
an interrogatory calls for attorney-client privileged information and work product on its
face.

Plaintiffs’ discovery gambit, if permitted, would enable any party to obtain all legal
communications between an opposing party and their lawyer in a pending state court
action simply by filing a separate federal lawsuit claiming “abuse of process.” Missouri law
does not permit such a brazen end-run around the sanctity of attorney-client privilege.

Finally, the Interrogatory exceeds the scope of discovery permitted under Rule 26(b)(2) in
that this Interrogatory is irrelevant to any claim or defense presented herein with respect
to Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a
plaintiff to establish that defendant made an “illegal, improper, perverted use of process, a
use neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d
645, 663 (Mo. App. W.D. 2020). This Interrogatory has no bearing on this issue and
therefore exceeds the scope of discovery permitted under the Federal Rules.

Defendant is wrong on the facts and the law here. This is a minor variation on the same legal
errors contained in the other objections, and Plaintiffs incorporate those responses here and
further state:

On its face, this request seeks a privilege log of communications with Defendant’s former client,
not the communications themselves. Plaintiffs specifically limit the request for dates, times and
persons communicated with and explicitly permits Defendant to make this identification without
summarizing the content of the communication.

The information sought is not privileged anyway under the exception in Rule 4-1.6(b) and the
principles discussed above from Ingram v. Horne. 785 S.W.2d 735 (Mo. Ct. App. 1990).

Further, this information is reasonably calculated to lead to the discovery of admissible evidence
as it will narrow the scope of any questions about precisely who authorized the filing of the
counterclaim and who knew what and at what time. This request will provide Plaintiffs (and the
Court) with tools necessary to limit discovery and disclosures to the issues presented here instead
of having to “relitigate every claim” in the state court proceedings.

Defendant’s objections have no merit and Defendant must provide an Answer.




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INTERROGATORY NO. 5: Identify all documents provided to you by Family Motors, LLC
that are not communications with Defendant or records of communications with Defendant.

For reasons unknown to Plaintiff, Defendant’s responses edited this request to read as follows:

Identify all documents provided to you by Family Motors, LLC that are not communicated with
Defendant or records of communications with Defendant. (changes emphasized)
ANSWER: First, this Interrogatory is confusing and vague.


Second, this Interrogatory appears to ask for the privileged communications between
Family Motors, LLC and its former lawyer in an earlier filed civil case that remains
pending in the Circuit Court of Jackson County, Missouri. (See Shane Cook v. Family
Motors, LLC, et al. Cause No. 2166-CV07101). Such an interrogatory calls for attorney-
client privileged information and work product on its face. Plaintiffs’ discovery gambit, if
permitted, would enable any party to obtain all legal communications between an opposing
party and their lawyer in a pending state court action simply by filing a separate federal
lawsuit claiming “abuse of process.” Missouri law does not permit such a brazen end-run
around the sanctity of attorney-client privilege.

Finally, the Interrogatory exceeds the scope of discovery permitted under Rule 26(b)(2) in
that this Interrogatory is irrelevant to any claim or defense presented herein with respect
to Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a
plaintiff to establish that defendant made an “illegal, improper, perverted use of process, a
use neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d
645, 663 (Mo. App. W.D. 2020). This Interrogatory has no bearing on this issue and
therefore exceeds the scope of discovery permitted under the Federal Rules.

First, Defendant’s version of this Interrogatory was edited in a way that rendered Defendant’s
version confusion. However, Plaintiffs’ Interrogatory was not confusing and vague. Plaintiffs
seek non-privileged documents and explicitly excluded communications from this request. As
such, Defendant’s objection has no merit because the factual predicate of the objection is
erroneous.

This is obviously seeking relevant information, as Vescovo turned on the question of the validity
of the underlying claim and Defendant has raised the illusion of validity in two motions before
the Court. Defendant knows this objection has no merit and should withdraw it.

Defendant must answer.




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INTERROGATORY NO. 6: Defendant answered, so there are no issues with this response at
this time.



INTERROGATORY NO. 7: Identify all contact information for all other Defendants known to
you.

ANSWER: Objection. Any contact information, if any, would have come from
information learned by Defendant in her representation of Defendants in the earlier filed
state court action and would therefore be privileged. Also, the information sought by this
interrogatory is equally available to Plaintiffs and their counsel.

Finally, the Interrogatory exceeds the scope of discovery permitted under Rule 26(b)(2) in
that this Interrogatory is irrelevant to any claim or defense presented herein with respect
to Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a
plaintiff to establish that defendant made an “illegal, improper, perverted use of process, a
use neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d
645, 663 (Mo. App. W.D. 2020). Whether Defendant may have contact information for any
other defendant has no bearing on this issue and therefore exceeds the scope of discovery
permitted under the Federal Rules.

Defendant’s objection has no merit. As discussed previously, Defendant may disclose
information under Rule 4-1.6(b), and the contact information for witnesses to the facts alleged
and at issue in the case is clearly relevant to these proceedings.

Further, Defendant has, again, waived any objection that the information sought is relevant to
claims under Count III and so any objection to relevance is moot.

Defendant’s objections have no merit, and Defendant must provide an Answer



INTERROGATORY NO. 8: Identify all dates that Family Motors, LLC made or may have
made a demand for payment of storage fees from the Plaintiffs.

ANSWER: Objection. This Interrogatory seeks to re-litigate the very claim pending
against Family Motors, LLC in an earlier filed civil case in the Circuit Court of Jackson
County, Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause No. 2166-
CV07101). Indeed, the very discovery that Plaintiffs seek here was already sought by
Plaintiffs in the pending (earlier-filed) state court case. Plaintiffs’ claim here is one for
abuse of process, which requires a plaintiff to establish that defendant made an “illegal,
improper, perverted use of process, a use neither warranted nor authorized by the
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process.” Vescovo v. Kingsland, 628 S.W.3d 645, 663 (Mo. App. W.D. 2020). This case is
not Plaintiffs’ opportunity to seek duplicative discovery on the very claims still pending in
the earlier filed state court action.

Also, this Interrogatory exceeds the scope of discovery permitted under the Federal Rules.
In addition, this Interrogatory may call for information protected by the attorney-client
privilege and/or work product doctrine.

Defendant’s objection is factually erroneous and legally invalid.

Factually: First, there is nothing in Plaintiffs’ claims against Family Motors, LLC in the state
court case that involves a demand or lack of demand for payment, so this claim is in error.
Second, this request cannot reasonably be said to be seeking to “re-litigate” a case that has not
been fully litigated. By definition, a case must be litigated before it can be relitigated.

It is also clear that identifying a date cannot be work product or privileged attorney-client
communication. This is a pure fact question. This objection is frivolous, baseless and designed to
delay and increase the cost and burden of litigation.

At this point, these objections are clearly just boilerplate objections that should be disregarded by
the Court as a stall tactic.

The information sought is clearly relevant. Defendant’s objection has no merit, and Defendant
must provide an answer.




INTERROGATORY NO. 9: Identify all evidence that Family Motors, LLC made a demand
for payment of storage fees from Plaintiffs for the dates identified in response to Interrogatory
No. 8, where such evidentiary support was known to you on or before October 4, 2021.

ANSWER: First, this Interrogatory is confusing and does not seem to make sense.

Second, this Interrogatory seeks the mental impressions of legal counsel in Defendant’s
representation of Family Motors, LLC in an earlier filed civil case that remains pending in
the Circuit Court of Jackson County, Missouri. (See Shane Cook v. Family Motors, LLC,
et al. Cause No. 2166-CV07101). Indeed, the very discovery that Plaintiffs seek here was
already sought by Plaintiffs in the pending (earlier-filed) state court case, with the
exception that that Plaintiffs now seek the mental impressions, litigation strategy and work
product of the lawyer who represented Family Motors, LLC in the pending case. Such an
Interrogatory calls for attorney-client privileged information on its face. Plaintiffs’
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discovery gambit, if permitted, would enable any party to obtain a sneak preview of the
mental impressions and work product from their legal adversary in a pending state court
action simply by filing a separate federal lawsuit claiming “abuse of process.” Missouri law
does not permit such a brazen end-run around the sanctity of attorney-client privilege.

In addition, this Interrogatory is argumentative, speculative and calls for a legal conclusion
(e.g., “evidentiary support”). It is up to the trial judge (or the fact finder), not this
defendant, to determine what would be would have “evidentiary support” in the state court
action currently pending, although the Court record in the pending state court case shows
that on January 12, 2022, the Honorable Judge Phillips already denied Plaintiffs’ motion to
dismiss the Counterclaim, permitting the claim for storage fees to continue. Also, the trial
in the earlier filed action has not been set. The determination of what has “evidentiary
support” will be made months down the road (by the State Court judge or ultimate fact
finder in Cause No. 2166-CV07101). Plaintiffs are not entitled to a “preview” of the work
product and litigation strategy of Family Motors, LLC’s lawyer simply by filing this
lawsuit and serving the instant discovery.

Finally, the Interrogatory exceeds the scope of discovery permitted under Rule 26(b)(2) in
that this Interrogatory is irrelevant to any claim or defense presented herein with respect
to Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a
plaintiff to establish that defendant made an “illegal, improper, perverted use of process, a
use neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d
645, 663 (Mo. App. W.D. 2020). This Interrogatory has no bearing on this issue and
therefore exceeds the scope of discovery permitted under the Federal Rules.

Plaintiffs presume that Defendant’s counsel is a competent attorney who can read and understand
the Interrogatory as written. Plaintiffs seek what, if any, evidence Defendant had that Family
Motors, LLC made a demand for payment. This is clearly relevant to the issues in this case and
any response will either resolve that there was no evidence or lead to the discovery of admissible
evidence.

Since this is seeking identification of evidence, it is also quite a stretch to claim that this seeks
protected information, and Rule 4-1.6(b) authorizes the disclosure of any information that
Defendant needs to raise a defense that she had reviewed evidence to support the allegations
made in a pleading submitted to the state court.

F. R. Civ. P. 33(a)(2) specifically permits this form of interrogatory, which will help narrow the
issues for trial. (see discussion above)

For reasons previously stated, this request is also relevant to the claims in Count II and Count III,
and Defendant has waived objections to relevance as to Count III by not raising them.

Defendant’s objections have no merit and Defendant must answer.
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                                  DOCUMENT REQUESTS

       REQUEST No. 1. All documents that DEFENDANT identified or relied on in
connection with DEFENDANT’s answers to Plaintiffs’ First Set of Interrogatories to Defendant.

RESPONSE: Objection. This Request calls for information protected by the attorney-client
privilege and/or work product doctrine and calls for mental impressions/litigation strategy
of counsel. Subject to and without waiving said objections, none other than the records
reflected in Casenet in Cause No. 2116-CV-07101 and the photograph attached by Plaintiff
in Interrogatory No. 6.


Defendant’s objection is without merit. Defendant’s objections are mere boilerplate objections
that provide no basis for them. To the extent Defendant will argue that the objection to other
discovery requests are incorporated by reference, Plaintiffs incorporate their responses contained
herein.


     REQUEST No. 2. All documents containing communications with Family Motors,
LLC mentioning, referencing, alluding to or otherwise related to storage fees for vehicles.


RESPONSE: Objection. On its face, this Request asks for the privileged communications
between Family Motors, LLC and its former lawyer concerning legal strategy and mental
impressions of counsel in an earlier filed civil case that remains pending in the Circuit
Court of Jackson County, Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause
No. 2166-CV07101). Such a Request calls for attorney-client privileged information and
work product on its face. Plaintiffs’ discovery gambit, if permitted, would enable any party
to obtain all legal communications between an opposing party and their lawyer in a
pending state court action simply by filing a separate federal lawsuit claiming “abuse of
process.” Missouri law does not permit such a brazen end-run around the sanctity of
attorney-client privilege.

Finally, the Request exceeds the scope of discovery permitted under Rule 26(b)(2) in that
this Request is irrelevant to any claim or defense presented herein with respect to
Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a plaintiff
to establish that defendant made an “illegal, improper, perverted use of process, a use
neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d 645,
663 (Mo. App. W.D. 2020). This Request has no bearing on this issue and therefore exceeds
the scope of discovery permitted under the Federal Rules.


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As Plaintiffs have had to restate numerous times, the requests made here are authorized by Rule
4-1.6(b) and within the proper invocation of rights to protect litigants from abuse of legal process
as discussed in Ingram v. Horne, 785 S.W.2d 735, 737 (Mo. Ct. App. 1990). Plaintiffs have
limited this request to communications solely related to the claims for abuse of process and
violations of the Kanas Consumer Protection Act committed by Defendant. The discovery is
authorized, recognized and relevant to these proceedings.

To the extent that this objection repeats or rephrases the same tired boilerplate objections
Defendants’ counsel repeatedly raises, Plaintiffs incorporate their responses here as well.

Defendant’s objection has no merit, and Defendant must produce the documents requested or
admit that no such documents exist.


       REQUEST No. 3. All documents containing communications with Family Motors,
LLC mentioning, referencing, alluding to or otherwise related to claims, purported claims or
possible claims of Family Motors, LLC against Plaintiffs.

RESPONSE: Objection. On its face, this Request asks for the privileged communications
between Family Motors, LLC and its former lawyer concerning legal strategy and mental
impressions of counsel in an earlier filed civil case that remains pending in the Circuit
Court of Jackson County, Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause
No. 2166-CV07101). Such a Request calls for attorney-client privileged information and
work product on its face. Plaintiffs’ discovery gambit, if permitted, would enable any party
to obtain all legal communications between an opposing party and their lawyer in a
pending state court action simply by filing a separate federal lawsuit claiming “abuse of
process.” Missouri law does not permit such a brazen end-run around the sanctity of
attorney-client privilege.
Finally, the Request exceeds the scope of discovery permitted under Rule 26(b)(2) in that
this Request is irrelevant to any claim or defense presented herein with respect to
Plaintiffs’ claim of abuse of process insofar as an abuse of process claim requires a plaintiff
to establish that defendant made an “illegal, improper, perverted use of process, a use
neither warranted nor authorized by the process.” Vescovo v. Kingsland, 628 S.W.3d 645,
663 (Mo. App. W.D. 2020). This Request has no bearing on this issue and therefore exceeds
the scope of discovery permitted under the Federal Rules.

This objection is the same as the objection to Request No. 3 and fails for the same reasons stated
above. Defendant’s objection has no merit and Defendant must produce the documents
requested.




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       REQUEST No. 4. All non-privileged documents provided to Defendant by Family
Motors, LLC on or before October 4, 2021 where such document could be admissible evidence
in 2116-CV07101 - SHANE COOK ET AL V FAMILY MOTORS, LLC.


RESPONSE: Objection. This Request seeks to re-litigate the very claim pending against
Family Motors, LLC in an earlier filed civil case in the Circuit Court of Jackson County,
Missouri. (See Shane Cook v. Family Motors, LLC, et al. Cause No. 2166-CV07101).
Indeed, the very discovery that Plaintiffs seek here was already sought by Plaintiffs in the
pending (earlier-filed) state court case. Plaintiffs’ claim here is one for abuse of process,
which requires a plaintiff to establish that defendant made an “illegal, improper, perverted
use of process, a use neither warranted nor authorized by the process.” Vescovo v.
Kingsland, 628 S.W.3d 645, 663 (Mo. App. W.D. 2020). This case is not Plaintiffs’
opportunity to seek duplicative discovery on the very claims still pending in the earlier filed
state court action.

In addition, this Request is argumentative, speculative and calls for a legal conclusion (e.g.,
“admissible evidence”). It is up to the trial judge, not this defendant, to determine what
would be deemed “admissible evidence” in the state court action currently pending,
although the Court record in the pending state court case shows that on January 12, 2022,
the Honorable Judge Phillips already denied Plaintiffs’ motion to dismiss the
Counterclaim, permitting the claim for storage fees to continue. The trial in the earlier filed
action has not been set. The determination of what is “admissible evidence” will be made
months down the road (by the State Court judge in Cause No. 2166-CV07101). Plaintiffs
are not entitled to a “preview” of the work product and litigation strategy of Family
Motors, LLC’s lawyer simply by filing this lawsuit and serving the instant discovery.
Finally, this Request exceeds the scope of discovery permitted under the Federal Rules. In
addition, this Request may call for information protected by the attorney-client privilege
and/or work product doctrine and or mental impressions/litigation strategy of counsel.

First, this request does not “seek to relitigate” because it is merely seeking production of
documents. This is obviously related to Plaintiffs’ allegations here that Defendant had no
evidence to support the claims Defendant filed because documents are often a source of evidence
in trials. This also defeats Defendant’s objection that the request is beyond the scope authorized
by the Federal Rules.

Second, for reasons stated above, the requests made here are authorized by Rule 4-1.6(b) and
within the proper invocation of rights to protect litigants from abuse of legal process as discussed
in Ingram v. Horne, 785 S.W.2d 735 (Mo. Ct. App. 1990). The discovery is authorized,
recognized and relevant to these proceedings.



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Finally, while F. R. Civ. P. 36 does not include an express provision permitting application of
law to fact, it also does not provide for that as an objection. Here, Defendant is an attorney who
represented to the state court that she had conducted an investigation and had reviewed evidence
to support the allegations contained in the counterclaim. Mo. R. Civ. P. 55.03(c)(3). It is clearly
within Defendant’s capacity to provide responses, especially since Plaintiffs request seeks all
documents that “could be admissible.” Defendant need not make a speculation as to what this
Court or the state court may ultimately decide is admissible, just determine what documents
Defendant recognizes a court “could” deem admissible.

Defendant’s objections have no merit. Defendant must produce the documents requested.



                                       CONCLUSION

       Please take the time to read and consider Missouri’s reasoning in Ingram. I
am not the first attorney to draw the connection between Rule 55.03, Rule 11 and
abuse of process. Unlike Ingram, Plaintiffs are not attempting to create a tort where
none exists. Plaintiffs are pursuing a recognized cause of action for which they
have already provided a prima facie case. I understand that you desire to zealously
represent your client, but your objection that this action presents some kind of
existential risk to the legal profession have no merit. The issue is that we should
proceed with caution, not stop all proceedings. Notably, Ingram found this issue so
pressing that the court proceeded despite glaring and obvious pleading
deficiencies.

       As of the writing of this letter, Family Motors, LLC has defaulted and
admitted that the counterclaim was frivolous, lacked factual or legal merit, and was
filed for the improper purpose of forcing Plaintiffs to abandon their claims when
Plaintiffs could not legally be compelled to do so. De minimis, that is a sufficient
basis for this Court to grant Plaintiffs the benefit of any doubt at this stage and
order discovery to move forward.

       Plaintiffs would prefer to grant Defendant an opportunity to defend herself,
should she choose to do so. Rule 4-1.6 specifically authorizes Defendant to do so.
However, should Defendant continue to refuse to cooperate in discovery, Plaintiffs
will ask the Court to treat this as a default, as Defendant – and only Defendant –

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can know what evidence Defendant believes justified her actions, if she believes
they were justified.

                                                   Respectfully,




                                                   Keith Williston
                                                   913.207.5450
                                                   WillistonKeith@yahoo.com
                                                   THE WILLISTON LAW FIRM, LLC




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